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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

Civil Action No. 1:24-cv-02045

JACK BUTLER,

       Plaintiff,
v.

BURNING MAN PROJECT,
DAVE WELLHAUSER and
RANGER HAZELNUT a/k/a JANE DOE,

Defendants.


                             SECOND AMENDED COMPLAINT


  COMES NOW Plaintiff Jack Butler by and through counsel Ernst Legal Group, LLC to submit

  to the above-captioned Court his second first amended complaint against Defendants Burning

  Man Project, David Wellhauser, Elsewhence.com LLC, a Colorado Limited Liability Company

  owned and operated by David Wellhauser, and Ranger Hazelnut (“Jane Doe”) seeking remedies

  for injury to his reputation and privacy as well as economic and noneconomic damages caused

  by Defendants’ tortious conduct and breach of contract, and in support of his legal claims states

  the following:


                                            PARTIES

       1.      Plaintiff JACK BUTLER, at all relevant times, was a resident of Jefferson County,

Colorado.

       2.      Defendant BURNING MAN PROJECT (“BMP”) is a foreign nonprofit

corporation.

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       3.      Defendant DAVID WELLHAUSER, is on information and belief, was at all

relevant times a resident of Adams County, Colorado.

       3.4.    Defendant Elsewhence.com LLC is a Colorado Limited Liability Company, owned

and operated by Defendant David Wellhauser. See Exhibit AA.

       4.5.    Defendant Ranger Hazelnut (“Jane Doe”) is on information and belief, an employee

of or volunteer-worker of BMP, and an individual of foreign state residence.

                                 JURISDICTION AND VENUE

       5.6.    This Court has personal jurisdiction over Defendants pursuant to C.R.S. § 13-1-

214(1) as the causes of action herein arise from Defendants’ commission of tortious acts and

conduct constituting breach of contract within this state.

       6.7.    Venue is proper pursuant to C.R.C.P. 98(c)(1) because Jefferson County is where

the Plaintiff resides at relevant times to this matter and where the injury to his reputation and

damages have been suffered.

                                   FACTS OF THE MATTER


       7.8.    Jack Butler was accused of rape by a woman who was attending a Burning Man

Project inspired event named “Elsewhence” that took place in Bailey, Colorado. The Elsewhence

event is not affiliated with or sanctioned by the Burning Man Project. Elsewhence Agents are not

recognized as Burning Man Project, LLC employees. The Elsewhence event is the locus of the

conduct that serves as the basis for Plaintiff’s claims. The Elsewhence event is conducted by

Defendant Elsewhence.com LLC, which is a Colorado Limited Liability Company. The woman

who accused Plaintiff of rape ( who has subsequently retracted that false accusation) made that

accusation to persons attending the Elsewhence event, and those persons repeated that accusation

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to Elsewhence personnel, including Defendant David Wellhauser (“Elsewhence Agents”), who in

turn reported the accusation to the Burning Man Project Black Rock Rangers (“Rangers”).

       8.9.    The Elsewhence Agents are selected, trained and their conduct disciplined and

rewarded by Defendant Elsewhence in a manner that creates liability for Elsewhence under the

doctrine of respondeat superior for the tortious actions that ground Plaintiff’s claims in this

Complaint.

       9.10.   The Elsewhence Agents initiated an investigation and conducted it in Colorado.

       10.11. The Rangers are selected, trained and their conduct disciplined and rewarded by

Defendant BMP in a manner that creates liability for BMP under the doctrine of respondeat

superior for the tortious actions that ground Plaintiff’s claims in this Complaint. See Exhibit A.

       11.12. The Rangers initiated an investigation and conducted it in Colorado.

       12.13. The Rangers conducted the investigation in a matter that violated the written

policies of the Burning Man Project in material breach of the agreements between Plaintiff and

Defendant BMP.

                  i.   The written policies breached include the requirement that more than one

                       Ranger be tasked with any interview of a potential witness to an

                       investigation of allegations of sexual misconduct.

                 ii.   The written policies outlined in the Ranger Disciplinary Process (see

                       Exhibit A) to “FLAME” the allegations, including to listen to each side of

                       a controversy and yet witnesses provided by Plaintiff to support his account

                       were not contacted; Instead, multiple persons completely unconnected to

                       the incident were contacted for no other reason than to dig up dirt in


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                    Plaintiff’s past personal life in an attempt to “confirm” the false allegations

                    against him through assembling prejudicial character evidence.

             iii.   The written policies of the Rangers require transparency, and that obligation

                    was breached by Defendant BMP’s failure to provide the report of

                    Defendant David Wellhauser upon request of Plaintiff.

             iv.    The written policies of the Rangers require Personnel Investigators to make

                    recommendations based on their findings to the Personnel Managers; this

                    requirement was breached by having the Personnel Manager conduct the

                    investigation.

              v.    Plaintiff’s request to address the Rangers regarding his suspension,

                    including but not limited to the summary denial of Plaintiff's request to have

                    the suspension reconsidered after obtaining a favorable outcome in his civil

                    litigation against his accuser and obtaining a retraction statement from her,

                    was not sufficient to constitute the contractual provision for review/appeal

                    of the disciplinary decision against Plaintiff.

             vi.    When there are allegations such as those leveled against Plaintiff, the

                    written policies of the Rangers require that two members of the Ranger

                    Council arrange for a phone or face-to-face conversation with the accused

                    Ranger to discuss the outcome, and follow up the conversation with a letter

                    affirming the decision, so as to offer the accused Ranger an opportunity to

                    ask questions, and simply to be there for them. This obligation was breached

                    in that there was no face-to-face meeting between Plaintiff and two Rangers;


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                     nor was there even a phone conversation to provide Plaintiff an opportunity

                     to ask questions. A summary email was sent announcing the Rangers’

                     decision with no point of contact provided to Plaintiff, and no support was

                     offered to Plaintiff to deal with and counter the unfair treatment to which he

                     was being subjected.

              vii.   The Rangers’ written policies require the investigation to conduct itself in a

                     manner that respects the confidentiality of the accused Ranger’s

                     information to the extent possible; this provision of the contract was

                     breached by the fact that multiple people in Plaintiff’s community were told

                     of the accusations against Plaintiff even though they had no possibility of

                     knowledge of what Plaintiff was accused of.

             viii.   The Rangers’ written policies embody the promise that an investigation of

                     accused Rangers will be conducted in a fair and just manner; the manner in

                     which the investigation was conducted breached this obligation and duty

                     including but not limited to the violation of Plaintiff’s privacy rights.

      13.14. Defendants conducted an investigation that violated Plaintiff’s privacy rights.

                i.   Defendants contacted persons who could not have had first-hand knowledge

                     of the alleged rape, but who had prior sexual relationships with Plaintiff,

                     and informed them of the accusations against Plaintiff.

               ii.   Defendants’ goal in doing so was not to actually determine whether there

                     was any truth to the details of the allegations against Plaintiff, which

                     included self-contradiction and facts proven false by documentary and


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                         testimonial evidence of witnesses to the alleged events, but rather to gather

                         (and in that process disseminate) “character evidence” comprised of

                         negative comments against Plaintiff by his ex-lovers.

                  iii.   Defendants failed to find, or even look for, any documents or testimony

                         corroborating the details of the accuser’s allegations against Plaintiff, but

                         yet unjustly determined to impose discipline against Plaintiff, with no

                         means of appeal; and even after informing Plaintiff that his suspension

                         would be reconsidered if warranted by the outcome of a civil litigation,

                         refused to reconsider his suspension despite a favorable outcome and a

                         retraction statement issued by his accuser.

                                       CAUSES OF ACTION

                                            First Claim:
                                         Breach of Contract
                                      (against Defendant BMP)

       14.15. Plaintiff incorporates into this section, by this reference, each and all allegations of

this Complaint.

       15.16. Plaintiff had contracts and agreements with Defendant BMP.

       16.17. Plaintiff performed his obligations under the contracts and agreements.

       17.18. Defendant BMP failed to perform its obligations under the contracts and

agreements by failing to abide by the organization’s own written policies and procedures.

       18.19. Defendant BMP’s actions in breach of the above-referenced agreements caused

Plaintiff to incur economic damages and reputational damage.

                             Second Claim: Violation of Privacy Rights


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                                      (against all Defendants)

   30. Plaintiff incorporates all previous paragraphs herein by this reference.

   31. The above-referenced procedures of investigation by the Defendants needlessly and

       recklessly or intentionally disclosed private and sensitive information to persons who the

       Rangers knew had no information relevant or admissible to prove the accusation against

       Plaintiff.

   32. Defendants made these communications with malicious intent to people who they knew

       had no information that would be useful in determining whether Plaintiff had committed

       the crime of rape.

   33. Defendants’ communication of these statements defaming Plaintiff resulted in humiliation

       as well as pecuniary damage to Plaintiff.

   34. Plaintiff has been significantly damaged in reputation; Plaintiff has suffered from

       symptoms of post-traumatic stress, including depression, anxiety, and insomnia; the

       resulting emotional distress has had a fundamental impact on Plaintiff’s interpersonal

       relationships, and his ability to work and function in the world.

                                         JURY DEMAND


Plaintiff demands a jury trial for all above-identified issues and claims that are triable to a jury.


                                     REQUEST FOR RELIEF


       WHEREFORE, Plaintiff respectfully requests Judgment be entered on his behalf and

against Defendants, each and all, for the following relief as is determined to be his entitlement and

as is appropriate, mandatory and just:


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       a.      General and special damages as compensation for damage to his reputation both

up to the present and into the future;

       b.      Because Defendants’ conduct amounts to defamation per se, Plaintiff is entitled to

and respectfully requests an award of presumed damages;

       c.      Plaintiff is entitled to and requests an award of nominal damages and a Judgment

clearing its name;

       d.       Plaintiff is entitled to punitive damages, and shall request them through the

appropriate procedures at the appropriate time in these proceedings, because Defendants acted

with malice and actual malice;

       e.      Plaintiff requests compensatory and consequential damages for lost wages, lost

opportunities and other economic damages in an amount to be proven at trial;

       f.      Plaintiff requests noneconomic damages in an amount to be proven at trial;

       g.      Plaintiff requests attorneys’ fees as mandatory, just and provided for by Colorado

law;

       h.      Plaintiff requests pre-judgment and post-judgment interest;

       i.      Plaintiff requests legal costs;

       j.      and any such other relief as the Court deems just and proper.

  RESPECTFULLY SUBMITTED ON November 20, 2024,


                                         By:     ERNST LEGAL GROUP, LLC

                                                 ___/s/Dan Ernst__________
                                                 Dan Ernst, #53438
                                                 Attorney for Plaintiff Jack Butler



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Plaintiff Jack Butler
c/o Ernst Legal Group, LLC
217 East 7th Avenue
Denver, CO 80203




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